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                      UNITED STATES BANKRUPTCY COURT
                         DISTRICT OF MASSACHUSETTS

 IN RE:                                                Chapter:       13
                                                       Case No.:      17-14104


 O’BRIEN, MARY KATHRYN,
 Debtor




       DEBTOR’S OBJECTION TO MOTION FOR RELIEF FROM STAY
       OF DEUTSCHE BANK NATIONAL TRUST COMPANY, TRUSTEE


    The Debtor objects to the Motion For Relief From Stay of Deutsche Bank National
 Trust Company (hereinafter “Deutsche Bank” ) as follows:


    1. The Debtor admits that she signed a Note to Washington Mutual Bank but lacks
        knowledge or information sufficient to form a belief as to the truth or falsity of
        the balance of the allegations in this paragraph, accordingly denies the same and
        puts Deutsche Bank to its proof.
    2. The Debtor admits that she executed a mortgage to Washington Mutual Bank but
        lacks knowledge or information sufficient to form a belief as to the truth or falsity
        of the balance of the allegations in this paragraph, accordingly denies the same
        and puts Deutsche Bank to its proof.
    3. The Debtor lacks knowledge or information sufficient to form a belief as to the
        truth or falsity of the balance of the allegations in this paragraph, accordingly
        denies the same, and puts Deutsche Bank to its proof.
    4. Admit.
    5. Admit.
    6. Admit.
    7. Admit.
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    8. The Debtor lacks knowledge or information sufficient to form a belief as to the
       truth or falsity of the balance of the allegations in this paragraph, accordingly
       denies the same and puts Deutsche Bank to its proof.
    9. Deny. The premises are subject to the Debtor’s homestead rights.
    10. The Debtor lacks knowledge or information sufficient to form a belief as to the
       truth or falsity of the balance of the allegations in this paragraph, accordingly
       denies the same and puts Deutsche Bank to its proof. The Debtor has made
       consistent adequate protection payments to the Bank pending Debtor’s efforts to
       sell the property.
    11. Deny.
    12. The Debtor lacks knowledge or information sufficient to form a belief as to the
       truth or falsity of the balance of the allegations in this paragraph, accordingly
       denies the same and puts Deutsche Bank to its proof.
    13. Deny Deutsche Bank is entitled to Relief From the Automatic Stay and the relief
       requested in this paragraph.


       WHEREFORE, the Debtor, Kathryn O’Brien, respectfully requests that this Court
       DENY the Motion For Relief From Stay of Deutsche Bank and order such other
       and further relief as it deems appropriate.




 Dated: 8/16/2018

                                                      Respectfully submitted,
                                                      Mary Kathryn O’Brien
                                                      By her attorney:

                                                      /s/ Andrew W. Evans
                                                      ________________________
                                                      Andrew W. Evans
                                                      Evans & Evans
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                             CERTIFICATE OF SERVICE

        I, Andrew W. Evans hereby certify that on the below date I caused a copy of the
 within Objection to be served upon the following parties by mailing the same by first
 class mail, postage prepaid, unless some other form of service is indicated:


 VIA ECF:

 Chapter 13 Trustee
 Office of the United States Trustee

 Elizabeth Dailey, Esq., on behalf of Deutsche Bank National Trust Company


 8/17/2018
                                                    /s/ Andrew W. Evans
                                                    Andrew W. Evans, Esq.
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